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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 21-mj-02323-REID

 UNITED STATES OF AMERICA,

                Plaintiff,

 v.

 TYRESE COOPER,

                Defendant.

 ______________________________/

                                       DETENTION ORDER

        Pursuant to 18 U.S.C. § 3142(f), on March 9, 2021, a hearing was held to determine

 whether defendant TYRESE COOPER should be detained prior to trial. Having considered the

 factors enumerated in 18 U.S.C. § 3142(g), this Court finds that no condition or combination of

 conditions will reasonably assure the safety of any other person and the community. Therefore,

 it is hereby ordered that defendant TYRESE COOPER be detained prior to trial and until the

 conclusion thereof.

        In accordance with the provisions of 18 U.S.C. § 3142(i), the Court hereby makes the

 following findings of fact and statement of reasons for the detention:

        1. The defendant is charged by criminal complaint in the Southern District of Florida

 with conspiracy to commit Hobbs Act robbery and Hobbs Act robbery in violation of Title 18,

 United States Code, Sections 1951(a) and conspiracy to possess, carry, or brandish a firearm

 in furtherance of a crime of violence and possessing, carrying, or brandishing a firearm in

 furtherance of a crime of violence in violation of Title 18, United States Code, Section 924(o)

 and (c). Therefore, the defendant is charged with a crime of violence for which a maximum

 sentence of more than ten (10) years is prescribed, resulting in a rebuttable presumption that
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 no condition or combination of conditions will reasonably assure the safety of any other person

 and the community. Title 18, United States Code, Section 3142(e)(3)(B).

        2. The weight of the evidence against the defendant is substantial. The government has

 proffered that on June 30, 2020, at approximately 1:37 p.m., the defendant and two other

 individuals entered a cell phone store wearing masks and hoodies. The defendant was carrying

 a firearm and pointed it at a store employee. The defendant walked up to a display case and

 broke the glass using his hand and the firearm. The other two participants of the robbery

 reached into the case to retrieve cell phones. All three individuals fled the store.

        The robbery was recorded on the store's video surveillance system. Law enforcement

 officers recovered blood samples from the glass case and from the door which matched the

 defendant's DNA.

        On February 15, 2021, a store employee called law enforcement officers to report that

 the defendant and another individual had returned to the store and appeared to be measuring a

 display case.

        After his arrest, the defendant provided a statement to law enforcement wherein he

 admitted to participating in the robbery.

        3. The pertinent history and characteristics of the defendant support pretrial detention.

 The defendant was born on March 21, 2000 in Miami, Florida. Title 18, United States Code,

 Section 3142(g)(3)(A).

        4. The Court specifically finds by clear and convincing evidence, there are no

 conditions or combinations of conditions which will reasonably assure the safety of other

 persons and the community. The defendant participated in a robbery where he pointed a gun at

 a store employee and broke a glass display case. Based upon the above findings of fact, which



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 were supported by clear and convincing evidence, the Court has concluded that this defendant

 presents a danger to other persons and the community.

        The Court hereby directs:

                       (a) That the defendant be committed to the custody of the Attorney

 General for confinement in a corrections facility separate, to the extent practical, from persons

 awaiting or serving sentences or being held in custody pending appeal;

                       (b) That the defendant be afforded reasonable opportunity for private

 consultation with counsel; and

                       (c) That, on order of a court of the United States or on request of an

 attorney for the Government, the person in charge of the corrections facility in which the

 defendant is confined deliver the defendant to a United States Marshal for the purpose of an

 appearance in connection with a court proceeding.

        DONE AND ORDERED in Chambers at Miami, Florida, this 9th day of March, 2021.




                                       _______________________________________
                                       JOHN J. O'SULLIVAN
                                       CHIEF UNITED STATES MAGISTRATE JUDGE




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